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Bob Joondeph, Chair                                                400 Virginia Ave, SW
Nancy J. Altman                                                              Suite 625
Jagadeesh Gokhale                                                       ton, DC 20024
                                                                 Washington,
Amy Shuart
                                                                         www.ssab.gov
Claire Green, Staff Director                                                @ssabgov


                                      I appealed as SANCTIONS, It was closed as well with
July 2, 2024                          amy.baines@ssa.gov as a carbon copy.
Uploaded to FEDSEP
                                      Amy Baines was assigned to CH-0572-19-0568-B-1.
EEOC Office of Federal Operations
Washington Field Office           It's illegal to assign Amy to any EEOC Appeals for
EEOC                              Discrimination.
131 M Street, NE
Washington DC 20507               I have prior service time: 6/86-4/87 & 7/07-9/19.

             Re: Mellody E. Williams-Huntley, EEOC Case Number 570-2024-01135X
To Whom it May Concern:
      I am the General Counsel of the Social Security Advisory Board (SSAB) a
tiny 10 person Agency of the federal government. I have previously
corresponded by email with our EEOC liaison, Melissa Lawent and the FEDSEP
hearings team with respect to this matter. The latter advises me that the above-
named “Complainant” has filed multiple “cases” against several agencies and
that EEOC is trying to determine the best approach to deal with this situation.
       I write now as we have gotten a request from EEOC to upload an ROI that
does not exist. We do not now nor have we ever employed Mellody E. Williams
Huntley in any capacity and do not know who she is or why she chose SSAB to
file an improper case against. We ask that EEOC dismiss this matter so that we
are not required to repeatedly explain ourselves when we get orders from EEOC
such as to upload an ROI, or otherwise respond to EEOC on a case that does
not exist.
        We do have a case in active litigation which is time consuming for an
Agency of our size. Ms. Williams-Huntley’s filings with EEOC only distract us
from the matter at hand and cause us concern that the Agency will be required
to file multiple pleadings with respect to a person whom we never employed.
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      I am serving this letter on Ms. Williams-Huntley via FEDSEP.


                                                  Sincerely,




                                                  Cheri Cannon
                                                  General Counsel
Cc: Melissa Lawent, via email
